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CEDAR PARK ASSEMBLY OF GOD
OF KIRKLAND, WASHINGTON,




                                                      3:19-cv-05181-BHS
MYRON "MIKE" KREIDLER, et al.,




                                             Benjamin H. Settle

                         MYRON "MIKE" KREIDLER and JAY INSLEE




  Order (Dkt. # 119)


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